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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


IRISH JENKINS,                     )
                                   )
        Plaintiff,                 )
                                   )         CIVIL ACTION NO.
        v.                         )           2:17cv364-MHT
                                   )                (WO)
KOCH FOODS, INC., et al.,          )
                                   )
        Defendants.                )

                            OPINION

    Plaintiff filed this lawsuit asserting claims under

Title VII and 42 U.S.C. § 1981 for harassment and other

acts for discrimination on the basis of race and sex,

and retaliation.         He also brings state-law claims of

assault         and    battery;        invasion       of         privacy;

negligent/wanton        hiring,    training,       supervision         and

retention;       and   intentional     infliction      of    emotional

distress.        This lawsuit is now before the court on the

recommendation of the United States Magistrate Judge

that defendants’ motion to dismiss should be granted to

the extent that the complaint is supposed to state a

claim        for discrimination   in    compensation        in     Counts
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II     and     II, and denied in all other respects.                      Also

before       the   court    are    defendants’     objections      to      the

recommendation         and        plaintiff’s     response       to        the

objections.         After an independent and de novo review of

the    record,       the    court     concludes      that    defendants’

objections         should    be    overruled     and   the    magistrate

judge’s recommendation adopted.

      An appropriate judgment will be entered.

      DONE, this the 5th day of February, 2018.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
